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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

----------------------------------------------------------- X            Chapter 11
In re                                                       :
                                                            :            Case No. 09-10138 (KG)
Nortel Networks Inc., et al., 1                             :
                                                            :            Jointly Administered
                                    Debtors.                :
                                                            :            Re: D.I. 9136
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            CERTIFICATE OF COUNSEL REGARDING [PROPOSED] ORDER
             MODIFYING THE ENGAGEMENT OF ERNST & YOUNG LLP
                     NUNC PRO TUNC TO DECEMBER 12, 2012

                  I, Ann C. Cordo, counsel for Nortel Networks Inc. (“NNI”) and certain of its

affiliates, as debtors and debtors in possession in the above-captioned cases (collectively, the

“Debtors”), hereby certify as follows regarding the [Proposed] Order Modifying The

Engagement Of Ernst & Young LLP Nunc Pro Tunc to December 12, 2012 (the “Proposed

Order”), attached as Exhibit A hereto.

                 1.        On March 23, 2011, the Court entered the Order Under 11 U.S.C. §§ 327

and 328 Authorizing Employment of Ernst & Young LLP Nunc Pro Tunc to March 1, 2011 [D.I.

5154], authorizing the Debtors to employ Ernst & Young LLP (“EY LLP”) under the terms and

conditions set forth in the Tax Services Agreement, dated as of March 1, 2011, as modified by

the Order (as so modified, the “Tax Services Agreement”).

                 2.        On July 22, 2011, the Court entered the Order (I) Expanding the Scope of

Employment of Ernst & Young LLP Nunc Pro Tunc to May 31, 2011 and (II) Further Modifying


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        The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s tax identification number, are:
        Nortel Networks Inc. (6332), Nortel Networks Capital Corporation (9620), Nortel Altsystems Inc. (9769), Nortel
        Altsystems International, Inc. (5596), Xros, Inc. (4181), Sonoma Systems (2073), Qtera Corporation (0251), CoreTek,
        Inc. (5722), Nortel Networks Applications Management Solutions Inc. (2846), Nortel Networks Optical Components
        Inc. (3545), Nortel Networks HPOCS Inc. (3546), Architel Systems (U.S.) Corporation (3826), Nortel Networks
        International Inc. (0358), Northern Telecom International Inc. (6286) and Nortel Networks Cable Solutions Inc. (0567).
        Addresses for the Debtors can be found in the Debtors’ petitions, which are available at
        http://chapter11.epiqsystems.com/nortel.
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the Tax Services Agreement, entered on July 22, 2011 [D.I. 6021] (the “Expansion Order”),

under which the Debtors and EY LLP are authorized to amend or modify the Tax Services

Agreement upon limited notice.

               3.     On December 17, 2012, pursuant to the Expansion Order the Debtors filed

the Notice of Sixth Amendment to the Statement of Work Entered into Pursuant to the Tax

Services Agreement with Ernst & Young LLP (the “Notice”) (D.I. 9136).

               4.     As set forth in the Notice, any parties wishing to object to the Sixth

Amendment (as defined in the Notice) were required to file an objection by January 2, 2013 at

4:00 p.m. (the “Objection Deadline”). No objections were filed by the Objection Deadline.

               WHEREFORE, the Debtors respectfully request that the Order attached hereto as

Exhibit A be entered at the earliest convenience of the Court.

Dated: January 16, 2013
Wilmington, Delaware
                                           CLEARY GOTTLIEB STEEN & HAMILTON LLP

                                           James L. Bromley (admitted pro hac vice)
                                           Lisa M. Schweitzer (admitted pro hac vice)
                                           One Liberty Plaza
                                           New York, New York 10006
                                           Telephone: (212) 225-2000
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                                                    - and -

                                           MORRIS, NICHOLS, ARSHT & TUNNELL LLP

                                             /s/ Ann C. Cordo
                                           Derek C. Abbott (No. 3376)
                                           Eric D. Schwartz (No. 3134)
                                           Ann C. Cordo (No. 4817)
                                           1201 North Market Street, 18th Floor
                                           P.O. Box 1347
                                           Wilmington, DE 19899-1347
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                                           Counsel for the Debtors and Debtors In Possession


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